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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA,
Vv. Crim. Action No. 19-0018 (ABJ)
ROGER J. STONE, JR.,
Defendant. F I L E D
~ NOV 15 to:
VERDICT FORM Clerk, U.S. District & Bankruptoy

Courts for the District of Columbia
COUNT 1 (Obstruction of Proceeding):

As to Count 1 of the indictment, obstruction of an official proceeding in violation of
18 U.S.C. §§ 1505 and 2, we, the members of the jury, unanimously find Mr. Stone:

Guilty J Not Guilty
COUNT 2 (False Statement)

As to Count 2 of the indictment, making a false statement in violation of 18 U.S.C.
§§ 1001(a)(2) and (2) (that is, that Stone testified falsely that he did not have emails with third
parties about Julian Assange, and that he did not have any documents, emails, or text messages
that referred to Julian Assange), we, the members of the jury, unanimously find Mr. Stone:

Guilty VY Not Guilty

COUNT 3 (False Statement)

As to Count 3 of the indictment, making a false statement in violation of 18 U.S.C.
§ 1001(a)(2) and (2) (that is, that Stone testified falsely that his August 2016 references to being
in contact with Julian Assange were references to communications with a single “go-between,”
“mutual friend,” and “intermediary,” who Stone identified as Randy Credico), we, the members
of the jury, unanimously find Mr. Stone:

Guilty Not Guilty
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COUNT 4 (False Statement)

As to Count 4 of the indictment, making a false statement in violation of 18 U.S.C.
§ 1001(a)(2) and (2) (that is, that Stone testified falsely that he did not ask the person he referred
to as his “‘go-between,” “mutual friend,” and “intermediary,” to communicate anything to Julian
Assange and did not ask the intermediary to do anything on Stone’s behalf.””), we, the members of
the jury, unanimously find Mr. Stone:

Guilty J Not Guilty
COUNT 5 (False Statement)

As to Count 5 of the indictment, making a false statement in violation of 18 U.S.C.
§ 1001(a)(2) and (2) (that is, that Stone testified falsely that he and the person he referred to as his
“go-between,” “mutual friend,” and “intermediary” did not communicate via text message or email
about WikiLeaks), we, the members of the jury, unanimously find Mr. Stone:

Guilty Not Guilty

COUNT 6 (False Statement)

As to Count 6 of the indictment, making a false statement in violation of 18 U.S.C.
§ 1001(a)(2) and (2) (that is, that Stone testified falsely that he had never discussed his
conversations with the person he referred to as his “go-between,” “mutual friend,” and
“intermediary” with anyone involved in the Trump Campaign.), we, the members of the jury,
unanimously find Mr. Stone:

Guilty _Y/ Not Guilty

COUNT 7 (Witness Tampering)

As to Count 7 of the indictment, tampering with a witness in violation of 18 U.S.C.
§ 1512(b)(1), we, the members of the jury, unanimously find Mr. Stone:

Guilty Not Guilty

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Date

 
